Conviction for attempt to pass a forged instrument; punishment, two years in the penitentiary.
Considering both the original and the supplemental transcripts, there appear but two bills of exception. The first sets up appellant's objection to the testimony of witness Hart who was shown to be an assistant cashier of a bank with many years experience in that position, and who testified that his opinion of an instrument in writing shown him was that in same there had originally been written the figure "3" but that same had been changed to the figure "2." The bill of exceptions does not even set out the ground of appellant's objection. The bill is manifestly without merit. The other bill sets out the fact that witness Harris was with the prosecuting witness on a street in San Antonio and they were looking for a man who had tried to pass to the prosecuting witness a seven thousand dollar check. Appellant was seen and recognized and approached by said parties. Prosecuting witness had a conversation with appellant, and the officer asked appellant for the check which he had in his possession, and appellant turned same over to the officer. It is stated in the bill that this testimony was objected to on the ground that defendant was under arrest. We perceive nothing in the testimony in any way violative of the right of immunity arising from the arrest of the party. The bill sets out no conversation and no act of appellant, testimony of which might be objectionable under the rule mentioned.
We have carefully examined the facts and do not deem it necessary to discuss same further than to say that they support the conclusion that appellant approached the prosecuting witness with a seven thousand dollar check which he claimed to be his property, and which he attempted to pass to the witness, and which check was shown to be forged.
Finding no error in the record, the judgment will be affirmed.
Affirmed.
                    ON MOTION FOR REHEARING.